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                          EXHIBIT A
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No.: 1:16-cv- 02981

  TECH INSTRUMENTATION, INC., a Colorado corporation, individually and on behalf of all
  others similarly situated,

                         Plaintiff,

  v.

  EURTON ELECTRIC COMPANY, INC., a California corporation

                         Defendant.


                        CLASS ACTION SETTLEMENT AGREEMENT



         This Settlement Agreement and Release (“Settlement Agreement”) is entered into by

  Plaintiff Tech Instrumentation, Inc. (“Plaintiff” or “TII”), individually and on behalf of the Class,

  and by Defendant Eurton Electric Company, Inc., a Delaware entity (“Defendant” or “Eurton”).

  Plaintiff and Defendant are referred to collectively in this Settlement Agreement as the “Parties.”

                                            I. RECITALS
         A.      WHEREAS, on or about December 6, 2016, Plaintiff filed an alleged class action

  Complaint entitled Tech Instrumentation, Inc. v. Eurton Electric Company, Inc., Case No. 16-CV-

  02981 in the United States District Court for the District of Colorado, which was ultimately

  assigned to the Honorable Marcia S. Krieger (the “Action”) (Dkt. 1);
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         B.      WHEREAS, the Complaint in the Action alleges that Defendant violated the

  federal Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”) by sending

  facsimile advertisements without prior express permission or invitation;

         C.      WHEREAS, Eurton filed its Answer on January 31, 2017 (Dkt. 17);

         D.      WHEREAS, on May 29, 2018, the Court granted Plaintiff’s Motion for Class

  Certification (dkt. 47);

         E.      WHEREAS, Defendant vigorously denies all claims asserted against it in the

  Action, denies all allegations of wrongdoing and liability, denies all material allegations of the

  Complaint, and denies that Plaintiff and the Class members are entitled to any relief from

  Defendant;

         F.      WHEREAS, counsel for the Parties have investigated the facts relating to the

  claims and defenses alleged and the underlying events in the Action, have made a thorough study

  of the legal principles applicable to the claims and defenses asserted in the Action, and have

  conducted a thorough assessment of the strengths and weaknesses of their respective claims and

  defenses;

         G.      WHEREAS, counsel for the Parties have engaged in extensive arm’s-length

  negotiations concerning the settlement of the claims asserted in the Action, including a full-day

  mediation session overseen by well-respected mediator Joe Epstein of Conflict Resolution

  Services in Denver, followed by numerous telephone conversations and emails related to

  settlement;

         H.      WHEREAS, Eurton, without admitting any liability, fault or wrongdoing, and

  taking into account the uncertainty and risks inherent in any litigation, has concluded that further

  defense of the Action would be protracted, burdensome and expensive, and that it is desirable and

  beneficial to fully and finally settle and terminate the Action in the manner and upon the terms

  and conditions set forth in this Settlement Agreement, subject to Court approval. This Settlement

  Agreement is inadmissible as evidence against either of the Parties except to enforce the terms of

  the Settlement Agreement;


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          I.      WHEREAS, TII, and its counsel, on behalf of the Settlement Class (as defined

  below), after receiving information from Eurton regarding its claims, including data concerning

  the number of persons who were on the Fax List, have concluded based upon their investigation,

  and taking into account the contested issues involved, the legal principles at issue, the expense

  and time necessary to prosecute the Action through trial, the risks and costs associated with further

  prosecution of the Action, the uncertainties of complex litigation, and the substantial benefits to

  be received pursuant to this Settlement Agreement, that a settlement with Eurton on the terms set

  forth herein is fair, reasonable, and adequate, and in the best interest of the Named Plaintiff and

  the Settlement Class;

          J.      WHEREAS, TII and its counsel, on behalf of the Settlement Class, has agreed to

  settle the Action with Eurton on the terms set forth herein and to have judgment entered pursuant

  to this Settlement Agreement without trial or adjudication of any issue of fact or law and without

  this Settlement Agreement, including any exhibits thereto, constituting any evidence against, or

  any admission by, any Party with respect to liability, fault, certifiability of the class or any other

  issue raised in the Action;

          K.      WHEREAS, the Settlement contemplated by this Settlement Agreement is

  expressly conditioned upon and subject to preliminary and final approval by the Court, as set forth

  herein. Absent such approvals, this Agreement and underlying settlement shall be null, void, and

  of no further force or effect and the parties shall be returned to their status quo ante as set forth at

  Article IV, Section 9. Effective upon such approvals, this Agreement is intended by the parties to

  fully, finally and forever resolve, discharge and settle the claims of the Settlement Class, upon

  and subject to the terms and conditions hereof; and

          L.      WHEREAS, Eurton and counsel for Eurton have agreed to settle the Action with

  Plaintiff on the terms set forth herein and to have judgment entered pursuant to this Settlement

  Agreement without trial or adjudication of any issue of fact or law and without this Settlement

  Agreement, including any exhibits thereto, constituting any evidence against, or any admission




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  by, any Party with respect to liability, fault, certifiability of the class, or any other issue raised in

  the Action.

          NOW, THEREFORE, it is hereby agreed that, in consideration of the agreements,

  promises, and covenants set forth in this Settlement Agreement, and subject to the terms and

  conditions set forth herein and the approval of the Court, the Action shall be fully and finally

  settled and dismissed with prejudice.

                                           II. DEFINITIONS

          Unless defined elsewhere in this Settlement Agreement, as used herein and in the

  documents attached hereto as exhibits, the terms set forth below shall have the meanings set forth

  below. The singular includes the plural and vice versa.

          1.      “Action” means the lawsuit captioned Tech Instrumentation, Inc. v. Eurton

  Electric, Inc., Case No. 16-CV-2981 (D. Colo.), including any and all appeals.

          2.      “Award Unit” means a share of the Settlement Fund.

          3.      “Claim Form” means the document substantially in the form attached hereto as

  Exhibit 1, as approved by the Court. The Claim Form shall be available on the Settlement Website

  where it can be submitted electronically and/or downloaded by a Class Member and submitted by

  mail.

          4.      “Claimant Payment” means the distribution as described in Section III.1, to be paid

  from the Settlement Fund to each Settlement Class Member who submits a Valid Claim Form.

          5.      “Claims Deadline” means ninety (90) days following the Court’s grant of

  Preliminary Approval to this Settlement Agreement or such other date as set by the Court.

          6.      “Class Counsel” means Steven L. Woodrow, Patrick H. Peluso, and Taylor T.

  Smith of Woodrow & Peluso, LLC.

          7.      “Class List” means the list of certain names, addresses, and/or telephone numbers

  of Persons who may have been received a facsimile similar to the facsimile Plaintiff received

  which gave rise to this case, to be provided to the Settlement Administrator for the purposes of

  identifying and sending notice to potential Settlement Class Members.


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         8.      “Class Period” means the period from December 6, 2012 to the present.

         9.      “Counsel for the Defendant” or “Defendant’s Counsel” means David Kaminski

  and Stephen Watkins of Carlson & Messner LLP.

         10.     “Court” means the United States District Court for the District of Colorado, and

  United States District Judge Marcia S. Krieger to which the Action is assigned, or any judge who

  may succeed her as Judge in the Action.

         11.     “Cy Pres Recipient” means Bet Zedek Legal Services (located in Los Angeles), or

  The Colorado Legal Aid Foundation as an alternative . Should the Court not approve these cy

  pres recipients, the Cy Pres Recipient shall mean any other such organization that the Court deems

  appropriate.

         12.     “Defendant” or “Eurton” means defendant Eurton Electric, Inc.

         13.     “Effective Date” means one (1) business day after the Court has entered a Final

  Approval Order and Judgment and that Final Approval Order and Judgment has become Final.

         14.     “Fee Award” means any award of reasonable attorney’s fees and for

  reimbursement of costs and expenses to be awarded by the Court to Settlement Class Counsel as

  set forth in Section VI below.

         15.     “Final” means that the Final Approval Order and Judgment has been entered on

  the docket in the Action and that the following has occurred: (a) the time to appeal from such

  order and judgment has expired and no appeal has been timely filed, or (b) if an appeal from such

  order and judgment has been filed, it has resulted in an affirmance of the Final Approval Order

  and Judgment without any material change, no other appeal or petition for rehearing or review is

  pending, the time period during which further petition for hearing, review, appeal, or certiorari

  could be taken has finally expired, relief from a failure to file same is not available, and the

  mandate is filed with the Court, or (c) the Court, following the resolution of any appeal from the

  Final Approval Order and Judgment, enters a further order or orders approving settlement on the

  terms set forth herein, and either no further appeal is taken from such order(s) or any such appeal

  results in affirmation of such order(s).


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         16.     “Final Approval Hearing” means the hearing at which the Court will be asked to

  grant final approval to this Settlement Agreement in all material respects as fair, reasonable and

  adequate, consider any timely objections to this Settlement Agreement, authorize the entry of a

  final judgment, and determine the amounts of the Fee Award and Incentive Award.

         17.     “Final Approval Order and Judgment” means the order in which the Court certifies

  the Settlement Class, grants final approval of this Settlement Agreement, authorizes the entry of

  a final judgment, and dismisses the Action with prejudice.

         18.     “Funding Date” means the date, which shall be no later than ten (10) business days

  after the Effective Date, on which Eurton shall deposit the balance of the Settlement Fund.

         19.     “Incentive Award” means the payment to be made to the Named Plaintiff as set

  forth in Section VI.2 of this Settlement Agreement, subject to the approval of the Court in

  recognition for the Named Plaintiff’s time and effort in prosecuting the case.

         20.     “Internet Notice” means the notice of settlement substantially in the form of

  Exhibit 2 hereto as detailed in Section IV.3.f.

         21.     “Long Form Notice” means traditional “long form” notice to be made available on

  the Settlement Website, describing the terms of this Settlement Agreement and containing

  information on how to file a claim, opt-out of the Settlement Class, or object, and which will be

  made available in accordance with Section IV.3.g of this Settlement Agreement, substantially in

  the form of Exhibit 3 hereto.

         22.     “Named Plaintiff” means Tech Instrumentation, Inc.

         23.     “Notice Plan” means and refers to the plan to disseminate notice of the Settlement

  Agreement to the Settlement Class that comports with due process and that includes direct mail

  notice, internet publication notice, and a Settlement Website, as set forth in Section IV.3.

         24.     “Objection Deadline” means and refers to the date set by the Court for Settlement

  Class Members to submit any objections to the Settlement Agreement, which shall be at least 14

  (fourteen) days after the filing of Class Counsel’s Motion for any Fee Award.




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         25.     “Opt-Out Deadline” means and refers to the date set by the Court for Persons who

  fall within the definition of the Settlement Class to submit any requests to exclude themselves

  from or opt-out of the Settlement, which shall be the same date as the Objection Deadline.

         26.     “Parties” means the Named Plaintiff and Eurton.

         27.     “Person” means, without limitation, any individual, and any entity including,

  without limitation, a corporation, partnership, limited partnership, limited liability partnership,

  limited liability company, association, joint stock company, estate, legal representative, trust,

  unincorporated association, and any other business or legal entity and their respective

  predecessors, successors, representatives, and assigns.

         28.      “Preliminary Approval Order” means the Court’s Order described in Section IV.2

  below and entered in connection with the hearing (the “Preliminary Approval Hearing”) at which

  the Court, inter alia, preliminarily certifies the Settlement Class, grants its preliminary approval

  to this Settlement Agreement, authorizes dissemination of notice to the Settlement Class, and

  schedules the Final Approval Hearing.

         29.     “Release” means the releases set forth in Section V of this Settlement Agreement.

         30.     “Released Parties” means Eurton, all of its acquired entities, predecessors,

  successors, affiliates, parent companies and subsidiaries, any other entities that may have been

  involved in the process by which class members received facsimiles by or on behalf of Eurton,

  and any and all of Eurton’s and its Affiliates’ past or present predecessors, successors, heirs,

  executors, estates, administrators, direct or indirect parents, subsidiaries, associates, affiliates,

  assigns, employers, employees, principals, agents, consultants, independent contractors, insurers,

  directors, managing directors, officers, partners, attorneys, accountants, financial and other

  advisors, investment bankers, underwriters, shareholders, lenders, auditors, investment advisors,

  legal representatives, successors in interest, assigns, franchisees and persons, firms, trusts,

  corporations, and any other individuals or entities in which Eurton and its Affiliates have or had

  a controlling interest, to which they are related, or with which they are affiliated and any other

  representatives of any of these individuals or entities.


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         31.     “Releasing Parties” means the Named Plaintiff, all Settlement Class Members and:

  (a) with respect to any Settlement Class Member that is not an individual, all of its present, former,

  and future direct and indirect parent companies, affiliates, subsidiaries, divisions, agents,

  franchisees, successors, predecessors-in-interest, and all of the aforementioned’s present, former,

  and future officers, directors, employees, shareholders, attorneys, agents, independent contractors

  and any other representatives; and, (b) with respect to any Settlement Class Member who is an

  individual, any present, former, and future spouses, dependents, children, parents, and any other

  members of the household who used the facsimile number at which facsimiles from Eurton were

  received, as well as the present, former, and future estates, heirs, executors, administrators,

  representatives, agents, attorneys, partners, successors, predecessors-in-interest, assigns and any

  other representatives of each of them.

         32.     “Settlement Administration Costs” means any and all costs incurred in

  administering the Settlement, to be paid exclusively from the Settlement Fund, including but not

  limited to all costs associated with identification of Persons who fall within the definition of the

  Settlement Class, costs of executing the Notice Plan and disseminating all notices and Claim

  Forms, costs of administering and maintaining the Settlement Website, processing Claim Forms,

  and sending Settlement Checks to Settlement Class Members who submit Valid Claim Forms, but

  specifically excluding all class benefit payments, payment of any Incentive Award, and any award

  by the Court of Attorney’s Fees and Costs.

         33.     “Settlement Administrator” means RG/2 Claims, an experienced third-party entity

  in the business of class action settlement claims administration, or such other third party settlement

  administrator approved by the Court.

         34.     “Settlement Agreement” or “Settlement” or “Settlement Agreement and Release”

  or “Agreement” means this settlement agreement and release, including the attached exhibits.

         35.     “Settlement Check” means the negotiable checks to be sent to those Settlement

  Class Members who submit approved Valid Claims pursuant to Section III below.




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          36.     “Settlement Class” means all individuals and entities who appear on Eurton’s Fax

   List. Eurton has represented that there are 1,498 facsimile numbers on the Fax List.

          37.     “Settlement Class Member” means a Person who falls within the definition of the

   Settlement Class and who has not submitted a valid request to be excluded/opt out of the

   Settlement.

          38.     “Settlement Class Representative” means Named Plaintiff TII.

          39.     “Settlement Fund” means the total aggregate common fund that Eurton will be

   obligated to pay by operation of this Settlement Agreement if it receives final approval from the

   Court and the Judgment becomes Final. The Settlement Fund equals two hundred ninety-nine

   thousand six hundred dollars ($299,600 USD) and constitutes Eurton’s exclusive and total

   payment obligation under this Settlement Agreement to settle the Action in full. The Settlement

   Fund will be used to pay: (a) the Settlement Checks to Settlement Class Members who submit

   Valid Claim Forms; (b) any Fee Award; (c) any Incentive Award approved by the Court; and (d)

   all Settlement Administration Costs. The Settlement Fund amount represents the total extent of

   Eurton’s monetary obligations under this Agreement. The Settlement Fund shall be maintained in

   an interest bearing account if possible at a bank chosen by the Settlement Administrator (“the

   Settlement Bank Account”). The Settlement Administrator shall establish the Settlement Bank

   Account at a bank that is insured by the Federal Deposit Insurance Corporation and that has total

   assets of at least five-hundred million dollars ($500,000,000 USD) and a short-term deposit rating

   of at least P-1 (Moody’s) or A-1 (Standard & Poor’s). Any costs associated with opening and/or

   maintaining the bank account to hold the Settlement Fund shall be deducted from the Settlement

   Fund. The Settlement Administrator shall be responsible for all tax filings with respect to any

   earnings on the Settlement Fund and the payment of all taxes that may be due on such earnings.

   Eurton shall deposit such amount of the Settlement Fund as necessary to cover initial expense of

   the Settlement Administrator within ten (10) business days of Preliminary Approval, and shall

   deposit the balance of the Settlement Fund on the Funding Date.




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          40.      “Settlement Website” means the Internet website to be established, administered

   and maintained by the Settlement Administrator as set forth in Section IV.3.g of this Settlement

   Agreement.

          41.     “Short Form Notice” means written notice of settlement in the form attached hereto

   as Group Exhibit 4, to be sent in accordance with Section IV.3 of this Settlement Agreement, in a

   postcard format, no later than thirty (30) days after preliminary approval is granted, summarizing

   the terms of the settlement and advising Persons who fall within the definition of the Settlement

   Class of their options in submitting a claim, excluding themselves, and objecting to the settlement.

          42.     “Successful Opt-Out” means a Person who, pursuant to Section IV.4 of this

   Settlement and Fed. R. Civ. P. 23, exercises the right to be excluded from the Settlement by the

   Opt-Out Deadline, but shall not include (a) any Person whose communication is not treated as a

   request for exclusion, and (b) Persons whose requests for exclusion are not valid or are otherwise

   void pursuant to Section IV.4.

          43.     “TCPA” means the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.

   together with its implementing Regulations, 47 C.F.R. § 64.1200, et seq.

          44.     “Valid Claim Form” shall mean a Claim Form that:

                  a)      is filled out truthfully and completely by the Settlement Class Member or a

   person authorized by law to act on behalf of the Settlement Class Member in accordance with the

   directions and requirements for submitting a Claim Form in accordance with Section III of this

   Settlement Agreement;

                  b)      contains the address of the Settlement Class Member;

                  c)      is executed and certified by the Settlement Class Member for whom the

   Claim Form is being submitted (or by his, her or their legal representative), physically or

   electronically, with the required affirmation under penalty of perjury;

                  d)      is timely, as judged by the fact that it is postmarked (if mailed to the

   Settlement Administrator) or time-stamped (if submitted to the Settlement Administrator via the

   Settlement Website) by the Opt-Out Deadline set by the Court; and


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                  e)      is not successfully challenged. A Claim Form shall be treated as

   successfully challenged under the standards set forth in Section III.2 below.

          45.     All references to days shall be interpreted to mean calendar days, unless otherwise

   noted. When a deadline or date falls on a weekend or a legal Court holiday, the deadline or date

   shall be extended to the next business day that is not a weekend or legal Court holiday.

          46.     All references to “his,” “her,” and similar terms are intended to be gender-neutral,

   and apply equally to Persons who are businesses, organizations, or other non-natural Persons.

          47.     Other terms are defined in the text of this Settlement Agreement and shall have the

   meaning given to those terms in the text. It shall be the intent of the Parties in connection with all

   documents related to the Settlement that defined terms as used in other documents shall have the

   meaning given to them in this Settlement Agreement, unless otherwise specified.

               III. SETTLEMENT CONSIDERATION AND CLAIMS PROCEDURE

          In consideration of a full, complete and final settlement of the Action, dismissal of the

   Action with prejudice, and the releases set forth in Section V below, and subject to the Court’s

   preliminary and final approval, the Parties agree to the following relief:

          1.      Relief to Settlement Class Members

                  a.      No later than the Funding Date, Eurton shall deposit into the Settlement

   Bank Account such funds as are necessary to pay Valid Claims, Settlement Administration Costs,

   and any amounts for Attorneys Fees, Incentive Award, and cy pres payments as approved by the

   court. Eurton shall have no payment obligations under this Settlement other than the Settlement

   Fund. In the event that this Settlement Agreement terminates or is not approved, any advances paid

   to the Settlement Administrator by Eurton that have not been spent, and are not required for

   amounts that are due and payable for reasonable and identified notice and administration costs

   already incurred, shall, within ten (10) business days, be returned by the Settlement Administrator

   to Eurton by payment to an account designated by Eurton.

                  b.      To facilitate the notice and claims administration process, Eurton and its

   counsel will provide to the Settlement Administrator and to Class Counsel, in an electronically


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   searchable and readable format, the Class List. Any information on the Class List shall be provided

   solely for the purpose of providing notice to the Settlement Class and informing them about their

   rights further to this Settlement, shall be kept in strict confidence and, subject to a Stipulated

   Protective Order, shall not be disclosed to any third party other than the parties to this Agreement

   and their counsel if necessary to effectuate the terms of the Agreement or the administration

   process, shall be used for no other cases, and shall be used for no other purpose.

                  c.      Subject to the terms and conditions of this Agreement, Settlement Class

   Members shall qualify for payment from the Settlement Fund if they submit a Valid Claim Form

   before the Claims Deadline. Only one claim for each facsimile number that received an allegedly

   offending telephone call shall be permitted.

                  d.      Each Settlement Class Member who submits a Valid Claim Form, qualifies

   for payment by having a number on the Class List, and is otherwise approved pursuant to Section

   III.2 shall be eligible to receive one (1) Claimant Payment equal to one (1) Award Unit, the value

   of which is two hundred dollars ($200.00 USD).

                  e.      Settlement Checks for the Claimant Payments shall be valid for ninety (90)

   days after issuance. Any funds associated with Settlement Checks not cashed by Settlement Class

   Members within that time will remain in the Settlement Fund unless such Settlement Check is

   returned as undeliverable to the Settlement Administrator within the 90-day period after issuance

   (“Returned Settlement Checks”). With respect to Returned Settlement Checks, the Settlement

   Administrator will make one (1) attempt at re-mailing to the address on file or to any updated

   address determined by using the national change of address registry. Re-mailed checks shall be

   valid for ninety (90) days after issuance of the re-mailing.

                  f.      Any amounts remaining in the Settlement Fund after payment of all

   Claimant Payments, Administration Costs, Fee Award and Incentive Award, and after the

   Reversion described below, will be paid to the Cy Pres Recipient(s) approved by the Court. If

   there is more than one Cy Pres Recipient, the remaining amounts will be distributed in equal

   amounts to each Cy Pres Recipient.


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                  g.      Notwithstanding any judgment, principle, or statute, there shall be no

   interest accrued, owing, or paid by Eurton on the Claimant Payments, or on the Settlement Fund,

   or on any other benefit available (or potentially available) under this Agreement.

                  h.      The Parties agree that 95% of all funds remaining in the Settlement Fund

   after payment of Valid Claims, Administration Costs, Fee Award, and Incentive Award, if any,

   shall revert to Eurton. The Parties further agree that 5% of all funds remaining in the Settlement

   Fund after payment of Valid Claims, Administration Costs, Fee Award, and Incentive Award, if

   any, shall be paid to a cy pres recipient approved by the Court.

           2.     Approved and Disputed Claims

                  a.      Each Settlement Class Member who makes a timely claim shall have his or

   her claim reviewed by the Settlement Administrator. The Settlement Administrator shall review

   the claims, reject any claim where there is evidence of fraud, and advise the Parties, at a minimum,

   on a bi-weekly basis of the claims that are approved and denied. Class Counsel and Defendant’s

   Counsel shall be entitled to contest the approval or denial of any claims (“Disputed Claims”), first

   through conferring with the other Party and the Settlement Administrator, and if they are unable

   to resolve such issues, they may seek assistance of the Court to resolve the issues at the earliest

   possible date, and to attempt to have a resolution before any fairness hearing. The Settlement

   Administrator shall be responsible for administering the Settlement and for receiving and keeping

   safe and secure all Claim Forms. The Settlement Administrator shall examine each Claim Form

   and determine if the Claim Form constitutes a Valid Claim Form eligible to receive the Claimant

   Payment described above.

                  b.      The Settlement Administrator shall identify any persons who submit Claim

   Forms that are incomplete and advise those persons in writing of the deficiencies in their Claim

   Forms providing them with at least thirty (30) days in which to cure any such deficiencies. In the

   event a person fails to cure the identified deficiencies within the 30-day period, the Settlement

   Administrator shall provide his or her contact information and the deficient Claim Form to Class

   Counsel and Defendant’s Counsel. Class Counsel may call and follow up with the person. The


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   period to cure will be closed thirty (30) days after Class Counsel receives a complete listing of any

   deficient Claim Forms.

          3.      Payment of Claims Administration Costs

                  a.        All   Settlement    Administration    Costs,   including    the   Settlement

   Administrator’s fees and expenses, shall be taken directly from the Settlement Fund. If this

   Settlement Agreement is terminated or fails to become effective, Eurton shall be responsible for

   payment to the Settlement Administrator of any claims administration costs and fees necessarily

   incurred by the Settlement Administrator prior to being notified that administration services are

   no longer required.

          4.      Payment of Benefits

                  a.        Subject to the terms and conditions of this Settlement Agreement, after the

   Funding Date, the Settlement Administrator shall make the following disbursements from the

   Settlement Fund in this order:

                             i.     Pay all taxes and tax-related expenses, if any, or, at the Settlement

   Administrator’s discretion, it shall reserve an amount of the Settlement Fund sufficient to pay taxes

   and tax-related expenses;

                            ii.     Pay to the Settlement Class Representative any Incentive Award

   ordered by the Court;

                           iii.     Pay to Class Counsel any Fee Award ordered by the Court;

                           iv.      Pay all unreimbursed costs of claims administration;

                            v.      Mail or otherwise provide a Settlement Check in the amount of the

   Claimant Payment to each Settlement Class Member who has returned or submitted a Valid Claim

   Form and qualifies for payment by having a number on the Class List, and who has not opted out

   of the Settlement or had their claim rejected;

                           vi.      Upon the earlier of (1) the cashing of the last Settlement Check

   (including any Settlement Check that is resent in accordance with Section III.1.e), or (2) the

   passage of 195 days since the mailing of the last Settlement Check, the Settlement Administrator


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   shall pay any amounts remaining in the Settlement Fund to Eurton for the reversion and to the Cy

   Pres Recipient(s).

                   b.      The Settlement Checks shall be paid solely from the Settlement Fund and

   shall be mailed to the address provided by the Settlement Class Member on his or her Valid Claim

   Form.

                   c.      All Settlement Checks issued under this section shall be void if not

   negotiated within ninety (90) days of their date of issue and shall contain a disclosure to that effect.

   Settlement Checks issued pursuant to this section that are not negotiated within ninety (90)

   calendar days of their date of issue shall not be reissued unless agreed upon by the Parties. Counsel

   for the Parties shall meet and confer regarding any claims of lost checks no later than one hundred

   twenty (120) days of their date of issue.

                   d.      The Settlement Administrator’s and the Parties’ respective obligations with

   respect to the distribution of Settlement Checks, the Settlement Administration Costs, any Fee

   Award, any Incentive Awards, and the amount of unclaimed and uncashed Settlement Checks, if

   any, shall be performed reasonably and in good faith. So long as such obligations are performed

   in good faith, the Parties and the Settlement Administrator shall not be liable for erroneous,

   improper, or inaccurate distribution, and the Release and any judgment shall be effective, once this

   Agreement becomes Final.

           5.      Prospective Relief

           For a period of twenty-four (24) months following the Effective Date, and subject to

   changes in applicable law, Eurton agrees not to cause facsimile advertisements to be sent to

   facsimile machines without first obtaining the prior express permission or invitation of the

   recipient.

           IV. SETTLEMENT PROCEDURES

           1.      Preliminary Approval

                   a.      As soon as practical after the execution of this Settlement Agreement,

   Plaintiff shall move the Court for an Order granting Preliminary Approval to the Settlement


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   Agreement. Eurton’s failure to oppose the Plaintiff’s request for entry of a Preliminary Approval

   Order shall not constitute an admission by Defendant as to any matter.

                  b.      Such Preliminary Approval Order shall, inter alia:

                           i.     preliminarily approve the Settlement as fair, reasonable, and

   adequate;

                          ii.     provisionally approve the Settlement Class for settlement purposes

   only;

                         iii.     approve the form and contents of the proposed Claim Form, Internet

   Notice, Long Form Notice, and Short Form Notice (post card and email versions) in forms

   substantially similar to those attached hereto as Exhibits 1, 2, 3, and 4, respectively, and authorize

   their dissemination to the Settlement Class;

                         iv.      find that the Notice Program set forth herein constitutes the best

   notice practicable under the circumstances and satisfies Due Process and Rule 23 of the Federal

   Rules of Civil Procedure;

                          v.      approve the requirement that Settlement Class Members submit a

   Valid Claim Form to obtain a Settlement Check;

                         vi.      set deadlines consistent with this Agreement for notifying the

   Settlement Class in accordance with the Notice Plan, the Claims Deadline, the Opt-Out Deadline,

   the Objection Deadline, and the filing of papers in connection with the Final Approval Hearing;

                         vii.     conditionally designate Named Plaintiff as the representative of the

   Settlement Class and Settlement Class Counsel as counsel for the Settlement Class;

                        viii.     approve the Settlement Administrator; and

                         ix.      set a date for the Final Approval Hearing, which may be continued

   by the Court from time to time without the necessity of further notice.




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            2.    Notice Plan and Claim Form

                  a.      The Parties agree to provide the best notice that is practicable under the

   circumstances, including individual notice to Persons in the Settlement Class who may be

   identified through reasonable efforts.

                  b.      Eurtonshall, within fourteen (14) days of entry of the Preliminary Approval

   Order, provide the Settlement Administrator and Class Counsel with the Class List.

                  c.      Within thirty (30) days following entry of the Preliminary Approval Order,

   the Settlement Administrator shall send the Short Form Notice to each Class Member via first class

   mail for those Class Members for whom a mailing address has been obtained. Neither the Parties

   nor the Settlement Class Administrator shall have any obligation to mail the Short Form Notice to

   any Settlement Class Member for whom no mailing address could be located after a diligent search.

   If and to the extent deemed necessary by the Settlement Administrator, the last known address of

   Persons in the Settlement Class will be subject to confirmation or updating as follows: (a) the

   Settlement Administrator may conduct a reasonable search to locate an updated address for any

   Person in the Settlement Class whose Short Form Notice is returned as undeliverable; (b) the

   Settlement Administrator shall update addresses based on any forwarding information received

   from the United States Post Office; and (c) the Settlement Administrator shall update addresses

   based on information it receives and through any requests received from Persons in the Settlement

   Class.

                  d.      If any Short Form Notice sent under this Section is returned by the Postal

   Service as undeliverable, the Settlement Administrator shall re-mail the Short Form Notice once

   to the forwarding address, if any, provided by the Postal Service on the face of the returned mail.

   Otherwise, the Settlement Administrator shall attempt to send notice via email. Other than as set

   forth in this paragraph, neither the Parties nor the Settlement Administrator shall have any other

   obligation to re-mail the Short Form Notice.

                  e.      The Settlement Administrator shall have discretion to format the Short

   Form Notice and Claim Form in a reasonable manner to minimize mailing or administrative costs.


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   Before the Short Form Notices are mailed, Class Counsel and Counsel for Defendant shall first be

   provided with a proof copy of any and all notices (including what the items will look like in their

   final form), and shall have the right to inspect the same for compliance with the Settlement

   Agreement and with any orders by the Court.

                     f.   The Settlement Administrator shall also create and implement a targeted

   programmatic digital media campaign for publication Internet Notice, as needed to accomplish

   sufficient reach to comport with due process. A proposed form of such Internet Notice is attached

   hereto as Exhibit 2.

                     g.   No later than twenty-one (21) days following the entry of the Preliminary

   Approval Order, the Settlement Administrator shall cause the Long Form Notice, a downloadable

   Claim Form that may be printed and mailed to the Settlement Administrator, an electronic version

   of the Claim Form that may be completed and submitted electronically, this Settlement Agreement

   and Exhibits, the Complaint, the Preliminary Approval Order, and any other relevant documents

   to be made available on a dedicated Settlement Website, the website name/URL for which is to be

   agreed upon by the Parties, to be administered by the Settlement Administrator. When available,

   the Settlement Administrator shall make available on the Settlement Website Class Counsel’s

   application for a Fee Award and any motion seeking approval of any Incentive Award as well as

   the Final Approval Order. Any other content proposed to be included or displayed on the

   Settlement Website shall be approved in advance by Class Counsel and Defendant’s Counsel. Such

   approvals shall not be unreasonably withheld.

                     h.   Eurton and the Settlement Administrator shall be responsible for timely

   compliance with any notice required by the Class Action Fairness Act (“CAFA”), 28 U.S.C.

   § 1715. Eurton shall provide proof of such compliance by filing a confirmation declaration with

   the Court at least fourteen (14) days prior to the Final Approval Hearing.

                     i.   Claim Forms shall be returned or submitted to the Settlement Administrator

   via U.S. Mail or via submission through the Settlement Website, by the Claims Deadline or be

   forever barred.


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           3.     Right and Effect of Members of the Class to Opt-Out

                  a.      Each Person who falls within the definition of the Settlement Class shall

   have the right to opt-out and not participate in the Settlement Agreement as provided for in the

   Preliminary Approval Order.

                  b.      The Short Form Notice and Long Form Notice shall explain the right to

   request exclusion from the Settlement Class and not to be bound by this Settlement Agreement, if,

   before the Opt-Out Deadline, the Person who falls within the definition of the Settlement Class (a

   “requester”) completes and mails a valid request for exclusion (“Opt-Out”) to the Settlement

   Administrator at the addresses set forth in the Notice. The Opt-Out must be postmarked on or

   before the Opt-Out Deadline.

                  c.      For an Opt-Out request to be valid and treated as a Successful Opt-Out, it

   must include: (a) the requester’s full name, address, and name of the Action (i.e. TII v. Eurton)

   and telephone number; (b) the telephone number at which the requester allegedly received a pre-

   recorded voice call that is the subject of this Settlement Agreement; (c) contain the requester’s

   personal and original signature, or the original signature of a person previously authorized by law,

   such as a trustee, guardian or person acting under a power of attorney, to act on behalf of the

   requester with respect to a claim or right such as those in the Action; and (d) state unequivocally

   that the requester desires to be excluded from the Settlement Class, to be excluded from the

   Settlement, not to participate in the Settlement, and/or to waive all rights to the benefits of the

   Settlement. The Settlement Administrator shall promptly inform Eurton and Class Counsel of any

   Opt-Out requests it receives.

                  d.      Persons who submit complete Opt-Outs that are postmarked before the Opt-

   Out Deadline shall receive no benefit or compensation under this Settlement Agreement, shall

   have no right to object to the proposed Settlement Agreement or participate at the Final Approval

   Hearing, and shall not be bound by any order or judgment entered in this Action.

                  e.      A request to Opt-Out that does not comply with all of the foregoing, or that

   is not timely submitted or postmarked by the Opt-Out deadline, or that is sent to an address other


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   than that set forth in the notice, shall be invalid and the person serving such request shall be treated

   as a Settlement Class Member and be bound by this Settlement Agreement and the Release

   contained herein if finally approved.

                     f.    No Person shall purport to exercise any exclusion rights of any other Person,

   or purport: (a) to opt-out Persons who fall within the definition of the Settlement Class as a group,

   aggregate, or class involving more than one Person; or (b) to opt-out more than one Person who

   falls within the definition of the Settlement Class on a single paper, or as an agent or representative.

   Any such purported opt-outs shall be void, and any Person(s) who are the subject of such purported

   opt-outs shall be treated as a Settlement Class Members.

                     g.    Before the Final Approval Hearing, Class Counsel, Counsel for the

   Defendant and the Settlement Administrator shall create a comprehensive list of successful Opt-

   Outs. The Parties shall, if possible, agree as to whether a communication from or on behalf of a

   Person who falls within the definition of the Settlement Class is a request to opt-out. Eurton or

   Class Counsel may dispute an Opt-Out or purported Opt-Out, and if the Parties are unable to

   resolve such dispute, they shall present the issue to the Court for resolution.

           4.        Inquiries from Settlement Class Members

                     a.    It shall be the responsibility of the Settlement Administrator to respond to

   all inquiries from or on behalf of potential Settlement Class Members with respect to this

   Settlement except to the extent that inquiries are directed to Class Counsel. Class Counsel and

   Counsel for Defendant must both approve any FAQs or other materials the Settlement

   Administrator may use to answer inquiries and shall confer and assist the Settlement Administrator

   as it requests.

           5.        Objections to the Settlement and Appearance at Final Approval Hearing

                     a.    Any Settlement Class Member may comment in support of, or in opposition

   to, the Settlement at his or her own expense; provided however, that all comments and/or

   objections must be in writing and mailed or hand-delivered to the Clerk of the Court and the

   Settlement Administrator and postmarked or delivered by no later than the Objection Deadline.


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   Objections may be filed by counsel for a Settlement Class Member though any such counsel must

   file an appearance in the Action.

                  b.      Each objection must: (i) set forth the Settlement Class Member’s full name,

   current address, and telephone number; (ii) identify the telephone number of the Settlement Class

   Member at which the Settlement Class Member claims phone calls subject to the Settlement were

   received; (iii) contain the Settlement Class Member’s original signature or the signature of counsel

   for the Settlement Class Member; (iv) state that the Settlement Class Member objects to the

   Settlement, in whole or in part; (v) set forth the complete legal and factual bases for the objection,

   including citations to relevant authorizes; (vi) provide copies of any documents that the Settlement

   Class Member wishes to submit in support of his/her position; and (vii) state whether the objecting

   Settlement Class Member intends on appearing at the Final Approval Hearing either pro se or

   through counsel and whether the objecting Settlement Class Member plans on offering testimony

   at the Final Approval Hearing.

                  c.      All objections must be mailed or hand-delivered to the Court before the

   Objection Deadline. An objector is not required to attend the Final Approval Hearing. However,

   any Settlement Class Member who objects may appear at the Final Approval Hearing, either in

   person or through an attorney hired at his, her, or its own expense, to object to the fairness,

   reasonableness, or adequacy of this Agreement or the underlying settlement. A Settlement Class

   Member or his or her attorney who wishes to speak at the Fairness Hearing must so state in his or

   her written objection or submit a separate notice of intention to appear to the Clerk of the Court no

   later than the Objection Deadline. Unless so permitted by the Federal Rules of Civil Procedure or

   the Local Rules of the presiding Court, no Settlement Class Member shall be permitted to raise

   matters at the Final Approval Hearing that the Settlement Class Member could have raised in a

   written objection but failed to do so.

                  d.      Any Settlement Class Member who fails to timely submit a written

   objection with the Court shall not be permitted to object to this Settlement Agreement at the Final

   Approval Hearing, shall be foreclosed from seeking any review of this Agreement by appeal or


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   other means, and shall be deemed to have waived his or her objections and be forever barred from

   making any such objections in the Action or any other related action or proceeding.

           6.     Final Approval Hearing

                  a.      The Parties will recommend that the Final Approval Hearing be scheduled

   for a date no more than seventy-five (75) days after the last date required for the mailing of the

   Notice and Claim Form. The Final Approval Hearing must be at least 150 days after Plaintiff

   moves for the entry of a Preliminary Approval Order.

                  b.      Class Counsel shall file their petition for any Fee Award no later than thirty

   (30) days prior to the Final Approval Hearing.

                  c.      No more than fourteen (14) days prior to the Final Approval hearing, the

   Settlement Administrator shall file with the Court and serve on counsel for all Parties a declaration

   stating that the Notice required by the Agreement has been completed in accordance with the terms

   of the Preliminary Approval Order.

                  d.      No later than fourteen (14) days before the Final Approval Hearing, Eurton

   shall file with the Court a certification that it complied with the CAFA notice requirements and

   stating the date of such compliance.

                  e.      If the Settlement Agreement is preliminarily approved by the Court, and all

   other conditions precedent to the Settlement have been satisfied, no later than fourteen (14)

   calendar days prior to the Final Approval Hearing, then Plaintiff shall file a Motion for Final

   Approval asking, inter alia, that the Court enter a Final Approval Order and Judgment, with

   Plaintiff filing a memorandum of points and authorities in support of the motion. Either Party may

   file a memorandum addressing any objection to the Settlement that has been submitted. Any

   request by Eurton for entry of the Final Approval Order and Judgment, or failure to object to

   Plaintiff’s request for entry of the Final Approval Order and Judgment, shall not be an admission

   or concession by Eurton as to any matter pertaining to the Class’s claims.

                  f.      At the Final Approval Hearing, the Court will consider and determine

   whether the provisions of this Agreement should be finally approved as fair, reasonable, and


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   adequate, whether any objections to the Agreement should be overruled, whether the requested

   Fee Award to Settlement Class Counsel and the requested Incentive Payment to the Class

   Representative should be approved, and whether a judgment finally approving the Settlement

   Agreement should be entered.

                  g.          This Settlement Agreement is subject to and conditioned upon the issuance

   by the Court of a Final Approval Order that grants final approval of this Agreement and:

                         i.          finds that the notice provided satisfies the requirements of due

   process and Fed. R. Civ. P. 23(e)(1);

                        ii.          finds that Settlement Class Members have been adequately

   represented by the Class Representative and Class Counsel;

                       iii.          finds that the Settlement Agreement is fair, reasonable and adequate

   to the Settlement Class, that each Settlement Class Member shall be bound by this Agreement,

   including the releases in Section V, and that this Settlement Agreement should be and is approved;

                       iv.           dismisses on the merits and with prejudice all claims of the

   Settlement Class Members asserted against Eurton in the Action, without fees or costs to any party

   except as provided in this Agreement; and

                        v.           retains jurisdiction of all matters relating to the interpretation,

   administration, implementation, effectuation and enforcement of this Settlement.

          7.      Litigation Stay

                  a.          Except as necessary to secure approval of this Settlement Agreement or as

   otherwise provided herein, the Parties shall take no further steps to prosecute the Action in this

   Court or in any other court. In the event the Settlement Agreement is not approved or is terminated

   according to its terms, the Parties may resume litigation no sooner than fourteen (14) days after

   such event or as otherwise directed by the Court.

          8.      Conditions of Settlement; Effect of Disapproval, Cancellation, Termination or

                  Nullification of Settlement

                  a.          The Effective Date of this Settlement Agreement shall not occur unless


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   and until each and every one of the following events occurs, and shall be the date upon which the

   last (in time) of the following events occurs:

                              (i)     This Agreement has been signed by the Parties, Settlement Class

   Counsel and Defendant’s Counsel;

                              (ii)    The Court has entered an order granting Preliminary Approval of

   the Settlement Agreement;

                              (iii)   The Court has entered an order finally approving the Settlement

   Agreement, following notice to the Settlement Class and a Final Approval Hearing, as provided

   in the Federal Rules of Civil Procedure, and has entered the Final Judgment, or a judgment

   substantially consistent with this Agreement; and

                              (iv)    The Final Judgment has become Final.

                  b.          If some or all of the conditions specified in Section 9(a) are not met, or in

   the event that this Settlement Agreement is not approved by the Court, or the settlement set forth

   in this Agreement is terminated or fails to become effective in accordance with its terms, then this

   Settlement Agreement shall be cancelled and terminated subject to Section 9(c) below, unless

   Class Counsel and Defendant’s Counsel mutually agree in writing to proceed with this Agreement.

   Notwithstanding anything herein, the Parties agree that the Court’s decision as to the amount of

   the Fee Award to Class Counsel set forth above or the Incentive Award to the Class Representative,

   regardless of the amounts awarded, shall not prevent the Agreement from becoming effective, nor

   shall it be grounds for termination of the Agreement.

          c.      Plaintiff and Eurton shall each have the right to unilaterally terminate this

   Settlement Agreement by providing written notice of his, her, their or its election to do so

   (“Termination Notice”) to all other Parties hereto within ten (10) calendar days of any of the

   following occurrences:

                         i.           the Court rejects, materially modifies, materially amends or

   changes, or declines to preliminarily or finally approve the Settlement Agreement;




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                         ii.          an appellate court reverses the Final Approval Order, and the

   Settlement Agreement is not reinstated without material change by the Court on remand;

                        iii.          any court incorporates into, or deletes or strikes from, or

   modifies, amends, or changes, the Preliminary Approval Order, Final Approval Order, or the

   Settlement Agreement in a material way, unless such modification or amendment is accepted in

   writing by all Parties;

                        iv.           the Effective Date does not occur; or

                         v.           any other ground for termination provided for elsewhere in this

   Agreement occurs.

           d.      If either Plaintiff or Eurton terminates this Settlement Agreement as provided

   herein, the Settlement Agreement shall be of no force and effect and the Parties’ rights and

   defenses shall be restored, without prejudice, to their respective positions as if this Settlement

   Agreement had never been executed, any orders entered by the Court in connection with this

   Agreement shall be vacated, and this Settlement Agreement shall not be used for any purpose

   whatsoever against any of the Parties. However, any payments made to the Settlement

   Administrator for services rendered to the date of termination shall not be refunded to Eurton.

                                                 V. RELEASE

           1.      Releases; Binding and Exclusive Nature of Settlement Agreement

                   a.          In connection with the Settlement, the Final Approval Order and Judgment

   shall provide that the Action is dismissed with prejudice as to the Named Plaintiff and all

   Settlement Class Members. As of the Effective Date, the Releasing Parties, and each of them, shall

   be deemed to have, and by operation of the Final Approval Order and Judgment shall have, fully,

   finally, and forever released, resolved, relinquished and discharged each and all of the Released

   Parties from each of the Released Claims and Unknown Claims (as defined below). The Releasing

   Parties further agree that they will not institute any action or cause of action (in law, in equity or

   administratively), suits, debts, liens, or claims, known or unknown, fixed or contingent, which they

   may have or claim to have, in state or federal court, in arbitration, or with any state, federal or local


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   government agency or with any administrative or advisory body, arising from or reasonably related

   to the Released Claims and Unknown Claims. The release does not apply to Persons who fall

   within the definition of the Settlement Class who timely opt-out of the Settlement in accordance

   with the terms of this Agreement. The release also does not preclude Settlement Class Members

   from addressing, dealing with, or otherwise complying with requests or inquiries from any

   governmental authorities relating to the issues raised in this Settlement Agreement.

                  b.      “Released Claims” means any and all claims (including Unknown Claims),

   causes of action, suits, obligations, debts, demands, agreements, promises, rights, extra-contractual

   claims, liabilities, damages, losses, controversies, costs, expenses, and attorneys’ fees of any nature

   whatsoever, whether based on any federal law, state law, common law, territorial law, foreign law,

   contract, rule, regulation, any regulatory promulgation (including, but not limited to, any opinion

   or declaratory ruling), common law or equity, whether known or unknown, suspected or

   unsuspected, potential or filed, accrued or unaccrued, claimed or unclaimed, individual or

   representative, asserted or unasserted, foreseen or unforeseen, actual or contingent, liquidated or

   unliquidated, direct or punitive, multiplied or compensatory of every nature and description

   whatsoever arising out of any violation of the TCPA or any other facsimile-related federal, state,

   or local, law, rule, regulation or ordinance.

                  c.      “Unknown Claims” means claims that could have been raised in the Action

   and that the Releasing Parties do not know or suspect to exist, which, if known by them might

   affect their agreement to release the Released Parties or the Released Claims or might affect their

   decision to agree, object or not to object to the Settlement. The Releasing Parties acknowledge that

   they may discover facts in addition to or different from those that they now know or believe to be

   true with respect to the subject matter of this release, but that it is their intention to finally and

   forever settle and release the Released Claims, notwithstanding any Unknown Claims they may

   have, as that term is defined in this Paragraph.




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                       VI. ATTORNEY’S FEES AND INCENTIVE AWARD

             1.   Fee Award and Costs

                  a.      No later than fourteen (14) days before the Objection Deadline, Class

   Counsel may make written application to the Court for a Fee Award not to exceed, in the aggregate,

   one-third (33.33%) of the Settlement Fund. The Parties agree that the Court (and only the Court)

   shall determine the final amount of the Fee Award in this Action.

                  b.      Any Fee Award shall be paid out of the Settlement Fund. In the event the

   Fee Award approved by the Court is less than one-third of the Settlement Fund, the difference

   between such amount and the amount requested by Class Counsel shall remain as part of the

   Settlement Fund.

                  c.      Subject to the terms and conditions of this Agreement, within five (5)

   business days after the Funding Date, and only in the event that the Court has made a Fee Award

   payable to Class Counsel, the Settlement Administrator shall distribute from the Settlement Fund

   the amount of any approved Fee Award to Class Counsel. Said distribution shall be made via wire

   or check as directed by Class Counsel. Prior to payment Class Counsel shall submit to Eurton and

   to the Settlement Administrator such documentation (such as a W-9 form) as may be reasonably

   requested to accomplish the payment of the Fee Award contemplated herein.

                  d.      Eurton agrees not to oppose any such application provided that it is in

   accord with the limitations set forth in this Section.

                  e.      Except as provided for in this Section, the Parties shall bear their own

   attorney’s fees, costs, and expenses incurred in the prosecution, defense, or settlement of the

   Action.

             2.   Class Representative Incentive Award

                  a.      No later than fourteen (14) days before the Objection Deadline, the

   Settlement Class Representative and Class Counsel may make written application to the Court for

   an Incentive Award not to exceed the amount of five thousand dollars ($5,000.00 USD) to be paid

   to the Settlement Class Representative for his service as a class representative in the Action and


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   the settlement. The Parties agree that the Court (and only the Court) shall determine the final

   amount, if any, of the Incentive Award.

                  b.      Eurton agrees not to oppose any such application provided that it is in

   accord with the limitations set forth in this Section.

                  c.      The Incentive Award shall be paid out of the Settlement Fund. In the event

   the Incentive Award finally approved by the Court is less than five thousand dollars ($5,000.00),

   the difference between the amount requested and the amount awarded shall remain as part of the

   Settlement Fund.

                  d.      Subject to the terms and conditions of this Agreement, within five (5)

   calendar days after the Funding Date, and only in the event that the Court has approved an

   Incentive Award to the Named Plaintiff, the Settlement Administrator shall distribute from the

   Settlement Fund the amount of any Incentive Award. Said distribution shall be made as directed

   by Class Counsel. The Settlement Representative, through Class Counsel, shall provide a W-9

   form to Eurton and the Settlement Administrator prior to payment.

          3.      Effect on Settlement

                  a.      The Parties agree that the rulings of the Court regarding the amount of the

   Fee Award and Incentive Award, and any claim or dispute relating thereto, will be considered by

   the Court separately from the remaining matters to be considered at the Final Approval Hearing as

   provided for in this Settlement Agreement and that any determination in that regard may be

   embodied in a separate order from the Court. Any order or proceedings relating to the amount of

   the Fee Award or the Incentive Award, including any appeals from or modifications or reversals

   of any orders related thereto, shall not operate to modify, reverse, terminate, or cancel the

   Settlement Agreement, affect the releases provided for in the Settlement Agreement, or affect

   whether the Final Approval Order and Judgment becomes Final as defined herein.




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                  VII. LIMITATIONS ON USE OF SETTLEMENT AGREEMENT

           1.      No Admission

                   a.     Eurton denies any liability or wrongdoing of any kind associated with the

   alleged claims in the Action. Eurton has denied and continues to deny each and every material

   factual allegation and all claims asserted against it in the Action. Nothing herein shall constitute

   an admission by Eurton of wrongdoing or liability, or of the truth of any allegations in the Action.

   The settlement of the Action, the negotiation and execution of this Agreement, and all acts

   performed or documents executed pursuant to or in furtherance of the Settlement are not and shall

   not be deemed to be, and may not be used as, an admission or evidence of any wrongdoing or

   liability on the part of Eurton, or as a concession by Eurton as to the truth of any of the allegations

   in the Action, or the veracity of any claim for relief or defense, or as an admission regarding any

   other matter in the case.

           2.      Limitations on Use

                   a.     Neither this Settlement Agreement nor any related documents filed or

   created in connection with this Settlement Agreement shall be admissible in evidence in any

   proceeding, except as necessary to approve, interpret or enforce this Settlement Agreement.

                               VIII. MISCELLANEOUS PROVISIONS

           1.      Claims Against Settlement Benefits

                   a.     In the event a third party, such as a bankruptcy trustee, former spouse, or

   other third party has or claims to have a claim against any Claimant Payment made to a Settlement

   Class Member, it is the responsibility of the Settlement Class Member to transmit the funds to such

   third party.

                   b.     The Parties understand and agree that this Settlement Agreement and any

   terms herein shall not affect in any regard any debt or obligation owed by any Settlement Class

   Member.




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          2.      Counterparts

                  a.      This Settlement Agreement and any amendments hereto may be executed

   in one or more counterparts, and either Party may execute any such counterpart, each of which

   when executed and delivered shall be deemed to be an original and both of which counterparts

   taken together shall constitute but one and the same instrument. Signature by digital, facsimile or

   in PDF format shall be deemed an original for all purposes.

          3.      Integration Clause

                  a.      This Settlement Agreement, including the Exhibits referred to herein, which

   form an integral part hereof, contains the entire understanding of the Parties with respect to the

   subject matter contained herein. There are no promises, representations, warranties, covenants or

   undertakings governing the subject matter of this Settlement Agreement other than those expressly

   set forth in this Settlement Agreement. This Settlement Agreement supersedes all prior agreements

   and understandings among the Parties with respect to the settlement of the Action. This Settlement

   Agreement may not be changed, altered or modified, except in a writing signed by a duly

   authorized agent of Eurton, the Named Plaintiff, and their respective counsel and approved by the

   Court, and may not be discharged except by performance in accordance with its terms.

          4.      Execution of Documents

                  a.      The Parties shall execute all documents and perform all acts necessary and

   proper to effectuate the terms of this Settlement Agreement.

          5.      Independent Judgment and Advice of Counsel

                  a.      Each party to this Settlement Agreement warrants that he, she, or it is acting

   upon his, her, or its independent judgment and upon the advice of his, her, or its counsel and not

   in reliance upon any warranty or representation, express or implied, of any nature or kind by any

   other party, other than the warranties and representations expressly made in this Settlement

   Agreement. The Parties acknowledge, agree, and specifically warrant to each other that they have

   read this Settlement Agreement, have received legal advice with respect to the advisability of

   entering into this Settlement, and fully understand its legal effect.


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          6.      Governing Law

                  a.      The Settlement Agreement shall be construed, enforced, and administered

   in accordance with the laws of the State of Colorado.

          7.      Jurisdiction

                  a.      The Court shall retain jurisdiction, after entry of the Final Approval Order

   and Judgment, with respect to enforcement of the terms of this Settlement Agreement and the

   underlying settlement, and all Parties and Settlement Class Members submit to the exclusive

   jurisdiction of the Court with respect to the enforcement of this Settlement Agreement and any

   dispute relating thereto.

          8.      Exhibits

                  a.      The exhibits to this Settlement Agreement are an integral and material part

   of this Settlement Agreement and are hereby incorporated and made a part of this Settlement

   Agreement.

          9.      No Assignments: Binding on Assigns

                  a.      Each Party represents, covenants, and warrants that he, she, or it has not

   directly or indirectly assigned, transferred, encumbered, or purported to assign, transfer, or

   encumber any portion of any liability, claim, demand, cause of action, or rights that he, she or it

   herein releases. This Settlement Agreement shall be binding upon and inure to the benefit of the

   Parties and their respective heirs, trustees, executors, successors, and assigns.

          10.     Terms and Conditions Not Superseded

                  a.      Nothing in this Settlement Agreement abrogates, supersedes, modifies, or

   qualifies in any way any of the contractual terms and conditions applicable in the ordinary course

   to the relationship between Eurton and its customers, or to the services provided by Eurton and

   purchased by its customers and used by consumers, except as expressly set forth herein.




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           11.     Waiver of Compliance

                   a.      Any failure of any Party to comply with any obligation, covenant,

   agreement, or condition herein may be expressly waived or excused in writing, to the extent

   permitted under applicable law, by the Party entitled to the benefit of such obligation, covenant,

   agreement, or condition and such party’s counsel. A waiver or failure to insist upon compliance

   with any representation, warranty, covenant, agreement, or condition shall not operate as a waiver

   of, or estoppel with respect to any subsequent or other failure.

           12.     No Collateral Attack

                   a.      This Settlement Agreement shall not be subject to collateral attack by any

   Settlement Class Members or their representatives any time on or after the Effective Date. Such

   prohibited collateral attacks shall include, but shall not be limited to, claims that a Settlement Class

   Member’s claim should have been heard or decided by another court or in another suit, that a

   Settlement Class Member’s claim was improperly denied, that the payment to a Settlement Class

   Member was improperly calculated, and/or that a Settlement Class Member failed to receive timely

   notice of the Settlement.

           13.     Authorization

                   a.      The signatories hereto represent that they are fully authorized to enter into

   this Settlement Agreement and bind the Parties to the terms and conditions hereof.

           14.     Settlement Class Member Signatures

                   a.      It is agreed that, because the Settlement Class is so numerous, it is

   impractical to have each Settlement Class Member execute this Settlement Agreement. The Notice

   will advise all Settlement Class Members and/or their representatives of the binding nature of the

   releases and of this Settlement Agreement, and in the absence of a valid and timely request for

   exclusion, such Notice shall have the same force and effect as if each Settlement Class Member

   executed this Settlement Agreement.

           15.     Taxes

                   a.      The Parties agree that the account into which the Settlement Fund is


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   deposited is intended to be and will at all times constitute a “qualified settlement fund” within the

   meaning of Treas. Reg. §1.468B-1.

                  b.      For the purpose of §1.468B of the Code and the Treasury regulations

   thereunder, the Settlement Administrator shall be designated as the “administrator” of the

   Settlement Fund. The Settlement Administrator shall cause to be timely and properly filed all

   informational and other tax returns necessary or advisable with respect to the Settlement Fund

   (including, without limitation, the returns described in Treas. Reg. §1.468B-2(k)). Such returns on

   the income earned by the Settlement Fund shall be paid out of the Settlement Fund.

                  c.      Any expenses reasonably incurred by the Settlement Administrator in

   carrying out the duties described in this Agreement, including fees of tax attorneys and/or

   accountants, shall be paid by the Settlement Administrator from the Settlement Fund pursuant to

   its estimates and invoice for services rendered, in accordance with Section III.

                  d.      Any Person that receives a distribution from the Settlement Fund pursuant

   to Section III shall be solely responsible for any taxes or tax-related expenses owed or incurred by

   that Person by reason of that distribution. Such taxes and tax-related expenses shall not be paid

   from the Settlement Fund. The Parties will reasonably cooperate with the Settlement Administrator

   to obtain appropriate reporting information for all Settlement Class Members who receive over

   $600.

                  e.      Plaintiff and Class Counsel shall fully bear all the tax consequences of any

   and all benefits received by them and the Settlement Class Members from Eurton in connection

   with this Agreement. Plaintiff acknowledges that Eurton and its attorneys provided no tax advice

   related to this Agreement and that Eurton may be required to file certain Form 1099 or other

   information reports with the United States Internal Revenue Service. Plaintiff has been advised to

   consult with tax counsel of Plaintiff’s own choice to seek legal and tax advice regarding the

   taxability or non-taxability of consideration provided herein. In no event shall Eurton or any of the

   other Released Parties have any responsibility or liability for taxes or tax-related expenses arising




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